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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                  Plaintiff,                )                    4:08CR3078
                                            )
           v.                               )
                                            )
PEEAIR SHAUN WARD,                          )    ORDER RESCHEDULING SENTENCING
                                            )               HEARING
                  Defendants.               )
                                            )


     IT IS ORDERED that:

     1.    the sentencing hearing for Peeair Shaun Ward is rescheduled and shall commence
           at 12:15 p.m. on November 5, 2008, in Courtroom No. 4, U.S. Courthouse, 100
           Centennial Mall North, Lincoln, Nebraska; and

     2.    the defendant shall be present for the hearing.

     Dated September 22, 2008.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge
